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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                          )                             PLAINTIFF
                                                  )
v.                                                )      No. 4:18CR00172 JM
                                                  )
                                                  )
ANDREW SCHERELL                                   )                          DEFENDANT


            DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE


       The Defendant, Andrew Scherell, by and through his attorney, Latrece Gray, and

for his Motion for Continuance, states:

       1.      This case is set for trial on Monday, April 23, 2018 at 9:15 a.m.;

       2.      Defense counsel has not received the discovery, and will need additional

time to review this material with Mr. Scherell, pursue pretrial matters and if necessary

prepare this case for trial;

       3.      Accordingly, defense counsel respectfully requests that the Court grant a

continuance in this case, and hereby certifies that this Motion is brought in good faith, and

not for the purpose of delay or any other improper purpose;

       4.      Defense counsel has contacted the Assistant United States Attorney,

Benecia Moore, and there is no opposition to Defendant’s request that this case be

continued;

       5.      The additional time occasioned by the Court’s granting of this Motion is

excludable under the Speedy Trial Act.


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       WHEREFORE, the Defendant, Andrew Scherell, respectfully requests that this

Court grant his Motion for Continuance and for all other just and appropriate relief.

                                                 Respectfully submitted,



                                                 JENNIFFER HORAN

                                                 FEDERAL DEFENDER

                                          By:    /s/Latrece Gray
                                                 Latrece Gray 93028
                                                 Assistant Federal Defender
                                                 The Victory Building, Suite 490
                                                 1401 West Capitol Avenue
                                                 Little Rock, AR 72201
                                                 Telephone: (501) 324-6113
                                                 E-mail: latrece_gray@fd.org

                                          For:   Andrew Scherell, Defendant

                              CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of April, 2018, a true and correct copy of the
foregoing was mailed to the Defendant, and was electronically filed with the Clerk of the
Court using the CM/ECF system, which shall send notification to the following:

Benecia Moore
Assistant United States Attorney
P.O. Box 1229
Little Rock, AR 72203
E-mail: benecia.moore@usdoj.gov

Andrew Scherell, Defendant


                                                 /s/Latrece Gray
                                                 Latrece Gray




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